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             EXHIBIT O
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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS




United States of America, State of
Arizona, State of California, District of                Case No. 1:21-cv-11558-LTS
Columbia, State of Florida,
Commonwealth of Massachusetts,
Commonwealth of Pennsylvania, and                        CONFIDENTIAL
Commonwealth of Virginia
                    Plaintiff,

         v.


American Airlines Group Inc.,


         and


JetBlue Airways Corporation,
                    Defendants.




              EXPERT REPORT OF NATHAN H. MILLER, PH.D.

                                            June 9, 2022




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     Taken together, these two analyses provide strong empirical evidence that
competition between airlines—including between American and JetBlue—leads
to lower prices for consumers. The analysis of legacy competition based on the
hub network demonstrated that additional legacy competitors in a market leads
to lower prices, including lower prices in markets in which legacies compete
with LCCs. The analysis of the Boeing 737 MAX grounding showed that when
American’s ability to compete is dampened, JetBlue specifically and other
carriers generally respond by raising prices. In the next section, I further
quantify the extent to which the NEA will lead to higher prices for consumers in
NEA markets in which Defendants possess market power.


6.3. The effects of reduced competition between American and JetBlue in
domestic markets that are fully or partially within the scope of the NEA

      In this section, I quantify the effects of the reduced competition between
American and JetBlue due to the NEA, focusing on domestic markets that
involve itineraries touching NEA airports. I use standard economic modeling
frameworks—upward pricing pressure and a model of effects from the
agreement that draws on merger simulation methods—to measure the impetus
to raise price in these markets. I find consistent evidence that the NEA is likely
to cause a substantial lessening of competition. My baseline simulation of
combining American and JetBlue interests through the NEA using data from
2019 shows annual overcharge to consumers of approximately $696 million.278


6.3.1. UPP and GUPPI show the potential for the NEA to substantially lessen competition in
NEA nonstop overlap markets

     In this section, I quantify the effects of the NEA on competition using a
pair of closely related statistics—upward pricing pressure (“UPP”) and gross
upward pricing pressure index (“GUPPI”). UPP and GUPPI measure the
change in incentives for Defendants and have been shown more generally to
correlate with price effects of mergers.279 They can be computed relatively easily
and their calculation helps illuminate the intuition behind the unilateral
competitive effects of mergers and profit-sharing agreements.



278 As I discuss in more detail in footnote 196, I understand that six NEA nonstop overlap markets (12 directional

markets) are currently carved out of the NEA. See First Amendment to the MGIA. These markets represent
roughly $204 million of the $696 million in total harm.
279 For example, see Nathan H. Miller et al., “Upward Pricing Pressure as a Predictor of Merger Price Effects,”

International Journal of Industrial Organization, 52(C), 2017, pp. 216–247 (“Miller et al. 2017”).


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